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                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NE\il YORK

 COMMUNITY ASSOCIATION UNDER\ryRITERS
 OF AMERICA,INC. a/s/o
 TRUMP PARK RESIDENCES CONDOMINIUM                         CIVIL ACTION NO.:
 2 Caufield Place
 Newtown, PA 18940
                Plaintiff,
                                                           JURY DEMAND
         v                                                 ENDORSED HEREON

 MAIN LINE FIRE PROTECTION CORP.
 337 North Main Street, Suite 1l
 New City, NY 10956

 CAPPELLI ORGANIZATION, LLC
 7 Renaissance Square
 White Plains, NY 10601

 LRC CONSTRUCTION, LLC
 7 Renaissance Square
 White Plains, NY 10601

 FULLER DEVELOPMENT COMPANY, Inc.
 7 Renaissance Square
 \ilhite Plains, NY 10601

 YORI(TOWN REALTY ASSOCIATES, LLC
 7 Renaissance Squarer 4th Floor
 White Plains, NY 10601

 and

 SULLIVAN ARCHITECTURE P.C.
 115 Stevens Avenue
 Valhalla, NY 10595

                Defendants.

                                        COMPLAINT

        Plaintiff, Community Association Underwriters of America, Inc., a/s/o Trump Park

Residences Condominium (hereinafter referred to as "Plaintiff'), by and through undersigned




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counsel, hereby demands judgment against the above-captioned Defendants, and states by way of

complaint against them as follows:

                                             PARTIES

        1.     Plaintiff is a corporation organized and existing under the laws of the State of

Delaware with a principal place of business located at 2 Caufield Place in Newtown, PA; at all

times relevant hereto, Plaintiff was - pursuant to a policy in full force and effect - the provider of

an insurance policy on a property owned by Trump Park Residences Condominium (hereinafter

"subrogor") located at 3770 Barger Street in Yorktown, NY (hereinafter the "subject property").

       2.      Defendant Main Line Fire Protection Corp. ("Main Line") is, upon information and

belief, a New York corporation with an address for service of process listed with the New York

Secretary of State as 337 North Main Street (Suite 11) in New City, NY; upon information and

belief, at all relevant times Main Line was in the business of, inter alia, designing, installing,

maintaining, repairing, andlor inspecting fire-suppression (a/k/a sprinkler) systems.

       3.      Defendant Cappelli Organization, LLC ("Cappelli") is, upon information and

belief, a New York corporation with an address for service of process listed with the New York

Secretary of State as 7 Renaissance Square in White Plains, NY; upon information and belief, at

all relevant times, Cappelli was engaged in the business of, inter alia, providing condominium-

construction and -development services, as well as selling condominium units to the public and

thereby creating condominium associations.

       4.      Defendant LPC Construction, LLC ("LPS") is, upon information and belief, aNew

York corporation with an address for service of process listed with the New York Secretary of

State as 7 Renaissance Square in White Plains, NY; upon information and belief, at all relevant

times, LPS was engaged in the business of, inter alia, constructing condominium buildings.




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        5.      Defendant Fuller Development Company, Inc. ("Fuller") is, upon information and

belief, a New York corporation with an address for service of process listed with the New York

Secretary of State as 7 Renaissance Square in White Plains, NY; upon information and belief, at

all relevant times Fuller was engaged in the business of, inter alia, providing condominium-

development services.

        6.      Defendant Yorktown Realty Associates, LLC ("Yorktown") is, upon information

and belief, a New York corporation with an address for service of process listed with the New

York Secretary of State as 7 Renaissance Square (4th Floor) in White Plains, NY; upon information

and belief, at all relevant times Yorktown was engaged in the business of, inter alia, selling

condominium units to the public.

        7.      Defendant Sullivan Architecture P.C. ("Sullivan") is, upon information and belief,

a New York corporation with an address for service of process listed with the New York Secretary


of State as 115 Stevens Avenue in Valhalla, NY. Upon information and belief, at all relevant times

Sullivan was engaged in the business of, inter alia, site-planning and architectural-design services.

                                  JURISDICTION AND VENUE

        8.      Jurisdiction is based on 28 U.S.C. $1332(a)(l) as this action involves a controversy

between citizens of different states. Moreover, the amount in controversy exceeds the

jurisdictional threshold of this Court (exclusive of interest and costs).

        9.      Venueisproperinthisdistrictbasedon23U.S.C. $1391(a)inthattheeventsgiving

rise to this claim occurred within this district.

                                     STATEMENT OF FACTS

       10.      Upon information and belief, Cappelli, LPC, Fuller, Yorktown and Sullivan

(hereinafter collectively the "Cappelli Defendants") were the developers and/or general




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 contractors in charge of the construction of the subject property pursuant to an agreement by and

among them of which subrogor was an intended third-party beneficiary.

        11.      As part of the subject property's design, the Cappelli Defendants installed the

sprinkler system at the subject property.

        12.      Subrogor retained Main Line to monitor, test, inspect, service and/or maintain the

subject property's sprinkler system and all component parts thereof.

        13.      Prior to February l4,20I6,upon information and belief, Main Line did test, inspect,

service and/or maintain the sprinkler system and all component parts thereof.

        14.      On February 14,2016, as a result of the Cappelli Defendants' improper design,

installation and insulation of the sprinkler system, as well as Main Line's failure to properly

monitor, test, inspect andlor service the sprinkler system, the sprinkler line referred to above ("the

subject pipe") froze and burst, causing substantial water damages.

        15.      As a direct and proximate result of the acts and/or omissions of the Defendants (as

are described more fully below), subrogor sustained damage to its property, as well as additional

expenses, in an amount in excess of $900,000.00; by operation of payments made pursuant to the

terms and condition of the aforementioned insurance policy; Plaintiff became subrogated to the

claims asserted in this action.

                           COUNT I - NEGLIGENCE v. MAIN LINE

        16.      Plaintiff incorporates by reference the preceding averments as though set forth at

length herein.

        17.      The aforementioned damages were the direct and proximate result of the

negligence, carelessness and/or other unlawful conduct of Main Line - including negligent acts

a:l.dlor omissions as performed by and through its agents, employees, andlor chosen




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subcontractors, acting within the course and scope of their employment and/or agency
                                                                                              - more
specifically described as follows:

       (a)     failing to exercise reasonable care in the performance of duties in the supervising
               of the design, installation and insulation of the sprinkler system, including, but not
               limited to, carelessly and negligently performing the following:

                     L failing to competently supervise the design, installation and insulation of
                        the sprinkler system in a safe and appropriate manner;

                     2. failing to ensure that proper techniques were employed, and applicable
                        safety procedures followed, as to the design, installation and insulation of
                        the sprinkler system;

                     3. failing to properly monitor the work of all agents and/or employees during
                        the design, installation and insulation of the sprinkler system to ensure
                        compliance with applicable safety procedures;
       (b)     Failing to exercise reasonable care in the performance of duties in the
              inspection and approval of the sprinkler-system work, including but not limited
              to carelessly and negligently performing the following:

                           failing to competently monitor, maintain, inspect and/or test the
                           sprinkler system;

                 2         failing to ensure that proper techniques were employed, and applicable
                           safety procedures followed, as to the design, installation and insulation
                           of the sprinkler system;

                 J         Failing to identify potential danger of freeze due to temperature of
                          unheated space;

       (c)    failing to adequately instruct, supervise and/or train servants, employees and agents
              as to the proper ways to perform the tasks set forth in subparagraph (a) and (b);

      (d)     failing to adequately warn subrogor and others of the dangers resulting from the
              failure to exercise reasonable care as set forth in subparagraph (a) and (b) above;

      (e)     failing to provide, establish andlor follow proper and adequate controls so as to
              ensure the proper performance of the tasks set forth in subparagraph (a) and (b)
              above;

      (Ð      failing to perform the tasks set forth in subparagraph (a) and (b) in conformity with
              prevailing industry and governmental specifications and standards;




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        (g)      failing to retain competent, qualified and/or able agents, employees or servants to
                 perform the tasks set forth in subparagraph (a) and (b) above; and/or

        (h)      violating the standards of care prescribed by statutes, rules, regulations, ordinances,
                 codes, andlor industry customs applicable to this action.

        18. As a direct and proximate result of such acts or omissions, subrogor's property was

damaged and additional expenses were incurred in an amount in excess of $900,000.00; as

described herein, Plaintiff became subrogated to the herein-asserted claims relating thereto.

        \ryHEREFORE, Plaintiff respectfully requests judgment in its favor and against

Main Line - jointly, severally, and/or in the alternative with the other Defendants in this

action - in an amount in excess of $900,000.00, plus interest, costs of suit, reasonable

attorney fees, delay damages, and such other relief as the Court deems appropriate under the

circumstances.

                    COUNT II - BREACH OF CONTRACT v. MAIN LINE

        19.      Plaintiff incorporates by reference the preceding paragraphs as though set forth at

length herein.

        20. In acting andlor failing to act as described herein, and as thereby causing the
damages as alleged herein, Main Line breached the terms of a legally enforceable agreement with

subrogor; specifically, Main Line failed to perform adequate and proper inspections of the subject

property and its sprinkler system, which would have prevented this loss by alerting the subrogor

to the inadequacy of heat and insulation in the vicinity of the subject pipe.

       21.       For its part, subrogor performed all of its obligations under the aforementioned

agreement, as well as all conditions precedent to recovery on this count.

       22.       As a direct and proximate result of such acts or omissions, subrogor's property was

damaged and additional expenses were incurred in an amount in excess of $900,000.00; as




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described herein, Plaintiff became subrogated to the herein-asserted claims relating thereto.

        WHEREFORE, Plaintiff respectfully requests judgment in its favor and against

Main Line - jointly, severally, and/or in the alternative with the other Defendants in this

action - in an amount in excess of $900,000.00, plus interest, costs of suit, reasonable

attorney fees, delay damages, and such other relief as the Court deems appropriate under the

circumstances.

                     COUNT III _ BREACH OF \ilARRANTIES v. MAIN LINE
        23. Plaintiff incorporates by reference the preceding paragraphs as though set forth
at length herein.

       24. In conjunction with the monitoring, testing, inspecting, service and/or
maintenance of the fire sprinkler system, Main Line expressly and/or impliedly warranted

that its work would be performed in a good and workmanlike manner, conducive to creating

a habitable building.


       25.       Thus, pursuant to all express and/or all implied warranties applicable to this

action, Main Line's work was to be done in a timely, safe, professional, good and

workmanlike manner.

       26.       Through Main Line's improper actions as described herein, Main Line

breached the express and/or implied warranties applicable here, resulting in subrogor's
                                                                                          - and
ultimately Plaintiff s - damages.

       27.       For its part, subrogor performed all conditions precedent to recover based

upon such breaches.

       28. As a direct and proximate result of such acts or omissions, subrogor's
property was damaged and additional expenses were incurred in an amount in excess of

$900,000.00; as described herein, Plaintiff became subrogated to the herein-asserted claims




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relating thereto.

          WHEREFORE, Plaintiff respectfully requests judgment in its favor and against

Main Line - jointly, severally, and/or in the alternative with the other Defendants in this

action - in an amount in excess of $900,000.00, plus interest, costs of suit, reasonable

attorney fees, delay damages, and such other relief as the Court deems appropriate under the

circumstances.

                    COUNT IV _ NEGLIGENCE v. CAPPELLI DEFENDANTS

          29.    Plaintiff incorporates by reference the preceding paragraphs as though set forth at

length herein.

          30.    Cappelli Defendants owed subrogor a duty of care to, inter alia,supewise, monitor,

inspect and see to it that its subcontractors properly designed, installed and insulated the sprinkler

system.

          31.    The aforementioned damages were the direct and proximate result of the

negligence, carelessness and/or other unlawful conduct of Cappelli Defendants
                                                                                          - including
negligent acts and/or omissions as performed by and through their agents, servants, workmen,

employees, servants and/or chosen subcontractors, acting within the course and scope of their

employment and/or agency - more specifically described as follows:

                 (a)    failing to exercise reasonable care in the performance of duties in the
                        supervising of the design, installation and insulation of the sprinkler system,
                        including but not limited to carelessly and negligently performing the
                        following:

                        (1) failing to competently supervise the design, installation and
                               insulation of the sprinkler system in a safe and appropriate manner;

                        (2)    failing to ensure that proper techniques were employed, and
                               applicable safety procedures followed, as to the design, installation
                               and insulation of the sprinkler system;




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                        (3)      failing to properly monitor the work of all agents andlor employees
                                 during the design, installation and insulation of the sprinkler system
                                 to ensure compliance with applicable safety procedures.

                 (b)    failing to adequately instruct, supervise and/or train servants, employees
                        and agents as to the proper ways to perform the tasks set forth in
                        subparagraph (a);

                 (c)    failing to adequately warn subrogor and others ofthe dangers resulting from
                        the failure to exercise reasonable care as set forth in subparagraph (a),
                        above;

                 (d)    failing to provide, establish andlor follow proper and adequate controls so
                        as to ensure the proper performance of the tasks set forth in subparagraph
                        (a) above;

                 (e)   failing to perform the tasks set forth in subparagraph (a) in conformity with
                       prevailing industry and governmental specifications and standards;

                 (Ð    failing to retain competent, qualified and/or able agents, employees,
                       subcontractors or servants to perform the tasks set forth in subparagraph (a)
                       above; and/or

                 (g)   violating the standards of care prescribed by statutes, rules, regulations,
                       ordinances, codes, and/or industry customs applicable to this action.

        32.      As a direct and proximate result of such acts or omissions, subrogor's

property was damaged and additional expenses were incurred in an amount in excess of

$900,000.00; as described herein, Plaintiff became subrogated to the herein-asserted claims

relating thereto.


        WHEREFORE, Plaintiff respectfully requests judgment in its favor and against the

Cappelli Defendants - jointly, severally, andlor in the altemative with the other Defendant(s)

in this action - in an amount in excess of $900,000.00, plus interest, costs of suit, reasonable

attorney fees, delay damages, and such other relief as the Court deems appropriate under the

circumstances.




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        33.      Plaintiff incorporates by reference the preceding paragraphs as though set forth at

length herein.

       34.       In building and developing and/or serving as general contractor in creating the

subject property, the Cappelli Defendants impliedly warranted that they would build and sell the

subject property in a reasonably workmanlike manner, safely functional and not defective, thereby

creating a habitable building.

       35.       The design, assembly, construction, installation and/or insulation of the sprinkler

system was not performed in a professional, competent, and workmanlike manner for the reasons

set forth herein, and as such posed ahazardto subrogor and the subject property.

       36.       Accordingly, the Cappelli Defendants - by and through their agents, servants,

workmen, employees, andlor chosen subcontractors - breached express and implied warranties on

which subrogor had rights to rely, including but not limited to the implied warranty of quality

workmanship and the subject property's implied warranty of habitability.

       37.       Pursuant to the duties given rise to by their roles in creating the subject property,

the Cappelli Defendants expressly andlor impliedly warranted to subrogor that all work performed

in connection with the construction and sale of the subject property would be free from defects.

       38.       In light of the defects and negligence described herein, the Cappelli Defendants did

not provide subrogor with a property, nor specifically a sprinkler system, of merchantable quality,

reasonably fit for the purposes for which intended, nor designed, installed, insulated or otherwise

constructed in a good and workmanlike manner, nor conducive to creating a habitable building.

       39.       The failures described in the foregoing paragraph thereby constitute breaches of

express and implied warranties subrogor had rights to rely upon, including but not limited to those




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described in the Uniform Commercial Code.

        40.      Subrogor used the subject property and the sprinkler system in a foreseeable and

ordinary manner, of which the Cappelli Defendants should have been aware, and for which the

Cappelli Defendants' expertise was relied upon; and yet subrogor sustained the damages described

herein due to the defects, breaches and negligence described above.

        41.      As a direct and proximate result of such breaches, subrogor's property was

damaged and additional expenses were incurred in an amount in excess of $900,000.00; as

described herein, Plaintiff became subrogated to the herein-asserted claims relating thereto


        WHEREFORE, Plaintiff respectfully requests judgment in its favor and against the

Cappelli Defendants -jointly, severally, and/or in the alternative with the other Defendant(s)

in this action - in an amount in excess of $900,000.00, plus interest, costs of suit, reasonable

attomey fees, delay damages, and such other relief as the Court deems appropriate under the

circumstances.

           COUNT VI _ BREACH OF CONTRACT v. CAPPELLI DEFEDANTS

       42.       Plaintiff incorporates by reference the preceding paragraphs as though set forth at

length herein.

        43.      In causing the damage as alleged herein, the Cappelli Defendants breached the

terms of the agreement of which subrogor was an intended third-party beneficiary, as expressed

and/or implied therein andlor according to law.

       44.       For its part, subrogor performed all its obligations under the aforementioned

agreement, as well as all conditions precedent to recovery on this count.

       45. As a direct and proximate result of such breaches, subrogor's property was
damaged and additional expenses were incurred in an amount in excess of $900,000.00; as




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described herein, Plaintiff became subrogated to the herein-asserted claims relating thereto.

       WHEREFORE, Plaintiff respectfully requests judgment in its favor and against the

Cappelli Defendants -jointly, severally, and/or in the alternative with the other Defendant(s)

in this action - in an amount in excess of $900,000.00, plus interest, costs of suit, reasonable

attorney fees, delay damages, and such other relief as the Court deems appropriate under the

crcumstances.

                                                       de Luca Levine LLC


                                               BY
                                                                for Plaintiff,
                                                               ty Association Underwriters of
                                                      America, Inc. a/s/o Trump Park Residences
                                                      Condominium


Dated: Mav 14.2018




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